        Case 1:18-cr-00258-BLW Document 292 Filed 08/05/19 Page 1 of 24



                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF IDAHO




UNITED STATES OF AMERICA,                              Case No.: 1:18-cr-00258-BLW

       Plaintiff,                                      MEMORANDUM DECISION AND
                                                       ORDER RE: DEFENDANT PAVEL
vs.                                                    BABICHENKO’S MOTION TO
                                                       REOPEN DETENTION HEARING
PAVEL BABICHENKO,
                                                       (Dkt. 252)
       Defendant.



       Pending before the Court is Defendant Pavel Babichenko’s (“Pavel”) Motion to Reopen

Detention Hearing (Dkt. 252). Having carefully considered the record, participated in oral

argument, and otherwise being fully advised, the Court enters the following Memorandum

Decision and Order:

                    I. FACTUAL AND PROCEDURAL BACKGROUND

       1.      After Pavel’s indictment for trafficking and money laundering in mid-August, the

Court heard the Government’s Motion for Detention on August 31, 2018. (Dkt. 96).

       2.      The undersigned found that no set of conditions could reasonably assure Pavel’s

and the other co-defendants’ appearance at trial and detained them as a risk of flight under the

Bail Reform Act, 18 U.S.C. § 3143(b). (Dkt. 97). Among other things, the Court relied on proffer

showing Pavel’s extensive money transfers from the U.S. to Brazil to entities alleged to be

controlled by Pavel and other co-defendants; his legal resident status in Brazil, and statements

alleged to have been made by him to others that he is seeking to obtain Brazilian citizenship; his

repeated travel to Brazil over a period of many years; his alleged direct involvement in the sale

of bulk counterfeit goods, with Pavel openly making statements describing the goods as


MEMORANDUM DECISION AND ORDER -- 1
           Case 1:18-cr-00258-BLW Document 292 Filed 08/05/19 Page 2 of 24



counterfeit; and the large volume of alleged counterfeit goods in Pavel’s possession or control.

Id.

       3.         On September 7, 2018, Pavel filed an appeal from the detention order before U.S.

District Judge Edward J. Lodge. (Dkt. 99). A hearing was conducted, with additional proffer and

argument. (Dkt. 123). On September 25, 2018, Judge Lodge issued a Memorandum Decision and

Order denying Pavel’s appeal, keeping intact this Court’s prior detention order. (Dkt. 127). Pavel

did not appeal.

       4.         On October 22, 2018, the Government filed a Motion for Complex Case

Designation Pursuant to 18 U.S.C. § 3161(h)(7)(ii) and Trial Continuance (requesting that trial

be reset from October 23, 2018 to October 1, 2019). (Dkt. 134). Although the Government

represented in its motion that no defendants objected to a trial continuance, co-defendant

Gennady Babitchenko (“Gennady”) filed an objection as to (1) the length of the continuance

(seeking instead only a 90-day continuance), and (2) the Government’s complex-case

designation efforts. (Dkt. 135).1 That same day, Judge Lodge granted a 90-day continuance and

reset the trial date for January 22, 2019. (Dkt. 136).

       5.         On November 30, 2018, U.S. District Judge B. Lynn Winmill granted the

Government’s request for complex-case designation, “[g]iven the obvious complexity” of the

case, but denied the Government’s request for a one-year continuance. (Dkt. 157). Instead, Judge

Winmill reset the trial date for June 3, 2019. Id.

       6.         On December 6, 2018, Gennady filed a Motion to Continue Jury Trial or

Alternatively, to Withdraw and for Substitution of Counsel, requesting a one-month trial



       1
        Pavel and the other co-defendants eventually followed suit – each objecting to the
Government’s complex-case designation efforts and any additional trial continuance beyond
January 22, 2019. (Dkts. 137-141, 143, 147, 148).

MEMORANDUM DECISION AND ORDER -- 2
        Case 1:18-cr-00258-BLW Document 292 Filed 08/05/19 Page 3 of 24



continuance from June 3, 2019 to July 29, 2019. (Dkt. 159). On December 11, 2018, Judge

Winmill granted the motion and reset the trial date for July 29, 2019. (Dkts. 161, 162).

        7.     On January 28, 2019, Pavel filed a Motion for Release Pending Trial. He

contended that his continued detention violated the Due Process Close of the Fifth Amendment

of the Constitution of the United States (Dkt. 165). The motion was based on – indeed expressly

relied on – a similar motion filed by Gennady. Id. (citing Dkt. 164)). On January 30, 2019, Judge

Winmill denied the motion. (Dkt. 166).

        8.     On February 2, 2019, Pavel appealed the denial of his motion for release. (Dkt.

169). On March 22, 2019, the Ninth Circuit affirmed, stating in relevant part: “[P]retrial

detention in this case has not been excessively prolonged and does not violate due process under

the circumstances of this case” and “contentions that anticipated future delays will render

[Pavel’s] detention unconstitutional are not yet ripe.” (Dkt. 192).

        9.     On May 15, 2019, the grand jury issued a Superseding Indictment which brought

additional charges against Pavel (conspiracy to commit wire fraud, conspiracy to traffic in

counterfeit goods, trafficking in counterfeit goods, money laundering conspiracy, and money

laundering) and expanded the scope of the criminal forfeiture allegations. (Dkt. 210).

        10.    On May 30, 2019, Gennady filed a Motion to Reopen Detention Hearing pursuant

to 18 U.S.C. § 3142(f)(2). He contended that new information had surfaced that was unknown to

him at the time of his initial hearing. (Dkt. 218). On June 4, 2019, Pavel moved to join in that

motion, claiming that “[m]any of the same issues the defense would like to present have been

argued in the co-defendant’s memorandum in support of the motion to reopen detention.” (Dkt.

227) (citing Dkt. 218)). The next day, Judge Winmill denied the motion, without prejudice. (Dkt.

229).




MEMORANDUM DECISION AND ORDER -- 3
        Case 1:18-cr-00258-BLW Document 292 Filed 08/05/19 Page 4 of 24



       11.     During a June 6, 2019 status conference with Judge Winmill, Pavel and other co-

defendants asked for a trial continuance to October 2020. They cited their need to investigate this

alleged massive conspiracy, which would include: (1) international evidence and witnesses, (2)

defense experts, and (3) culling through the huge amount of electronic discovery and physical

evidence. (Dkt. 231). On July 19, 2019, Judge Winmill agreed to reset the trial date for October

5, 2020, but continued to stress the need to expeditiously proceed to trial and informed the

parties that the trial may be reset again, but on an earlier date. (Dkt. 281).

       12.     On June 25, 2019, Pavel filed the at-issue Motion to Reopen Detention Hearing.

(Dkt. 252). He made various arguments, including: (1) the Government’s initial proffer

regarding statements made during undercover purchases were taken out of context,

mischaracterizing the nature of his statements and actions; (2) the Government’s initial proffer

regarding errors on certain packaging was incomplete, without considering Pavel’s status as a

cell phone wholesaler (purchasing items at auction from the manufacturer but others would

package for sale or sell to other distributors) and, thus, his lack of knowledge about such

mistakes; (3) the Government’s initial proffer regarding checks from an unidentified Philippine

bank account originated from a legitimate businesses that has since gone out of business; and (4)

the evidence of wire transfers to Brazil and China initially proffered by the Government to

reflect that Pavel was a flight risk were legitimate investments and business expenses. Id. Pavel

further offers that “[h]e will show up for court,” owing, in part, to the presence of his extended

family in Idaho and his strong ties to the community, and that, separately, “[t]here are incredible

tools available and skilled people who can ensure [his] appearance.” Id. On July 5, 2019, the

Government responded, arguing that Pavel has failed to demonstrate new and material

information as required under § 3142(f) to warrant the reopening. (Dkt. 262).




MEMORANDUM DECISION AND ORDER -- 4
        Case 1:18-cr-00258-BLW Document 292 Filed 08/05/19 Page 5 of 24



        13.     On July 8, 2019, the Court requested a written memorandum from each party (1)

identifying the expected trial date (the parties were not in agreement as to the expected trial date

at the time (see supra)); and (2) offering argument on whether the detention to date or continued

detention through October 2020 would violate Fifth Amendment Due Process Clause protections

for Pavel. (Dkt. 264).

        14.     On July 30, 2019, the Court held a hearing on the Motion to Reopen Detention

Hearing. The Court made certain assessments of the record following the evidence, proffer, and

argument, and also informed the parties that the Court was concerned about the due process

implications of pretrial detention in this case, given the lengthy period of detention which had

already occurred combined with the even longer period of detention which would occur with an

October 2020 trial setting.

 II. ALLEGED CHANGES IN CIRCUMSTANCES SINCE THE INITIAL DETENTION
                             HEARING

        15.     On July 19, 2019, as requested by the Court on July 8, 2019, each party filed a

memorandum (1) identifying the expected trial date; and (2) offering argument on the due

process concerns raised by Pavel’s detention to date and/or continued detention through October

2020. (Dkts. 283, 284).

        16.     The Government relies on three factors to determine if a due process violation

exists: (1) the non-speculative length of expected confinement; (2) the extent to which the

Government (the prosecution and/or the court system) bears responsibility for pretrial delay; and

(3) the strength of the evidence indicating a risk of flight, a threat to the trial process, and/or a

danger to the community.” (Dkt. 283) (citing United States v. Aileman, 165 F.R.D. 571, 581

(N.D. Cal. 1996)). With this standard in mind, the Government argued:




MEMORANDUM DECISION AND ORDER -- 5
        Case 1:18-cr-00258-BLW Document 292 Filed 08/05/19 Page 6 of 24



            The actual trial date is uncertain, as both the Government and Court aspire to
             conduct the trial before October 2020. Regardless, lengthier detentions have
             been found not to violate due process in other complex cases.

            The complexities of the case are due to Pavel’s and other co-defendants’ actions
             as their conduct (moving large volume of counterfeit products, creating
             hundreds of business entities to evade detection, opening hundreds of bank
             accounts, conducting thousands of wire transfers to obfuscate the source of the
             funds – involving dozens of coconspirators spread across three continents) was
             directly responsible for the necessary, complex, and lengthy investigations that
             have produced voluminous physical and electronic evidence contributing to
             corresponding pretrial delays.

            Pavel and other co-defendants sought lengthy continuances, not the
             Government.

            Pavel continues to be a flight risk. Financial activity suggests Pavel has plans
             to relocate to Brazil and is facing serious criminal liability. Pavel is also a risk
             of flight after his brother Igor fled to Brazil at the end of June 2019, after being
             approached by the FBI.

       17.      Pavel relies on a variety of factors to determine if a due process violation exists,

including: (1) the length of detention; (2) who bears responsibility for the delay; (3) the gravity

of the charges against him; and (4) the strength of the evidence underlying detention. (Dkt. 284)

(citing United States v. Rodriguez, 2012 WL 6690197, at *1 (W.D.N.Y. 2012); United States v.

Omar, 157 F. Supp. 3d 707, 715 (M.D. Tenn. 2016); United States v. Gelfuso, 838 F.2d 358, 359

(9th Cir. 1988)). Pavel also raises a Sixth Amendment concern. (Dkt. 284). With this standard in

mind, Pavel argued:

            By the time trial commences, he will have spent twenty-six months in custody,
             longer than any court has ever upheld against a due process challenge based on
             flight risk alone.

            Lengthy pretrial detentions are constitutional only under extraordinary
             circumstances (dangerous international terrorism threats and/or incorrigibly
             violent criminal defendants) – none of which applies here.

            His lengthy pretrial detention represents a due process violation for someone
             with no prior criminal history, who poses no danger, and for whom the evidence
             of flight risk is a circumstantial opportunity for flight only.


MEMORANDUM DECISION AND ORDER -- 6
       Case 1:18-cr-00258-BLW Document 292 Filed 08/05/19 Page 7 of 24



            Because of the Government’s approach to prosecuting this case and the lack of
             organized discovery, the Government bears the responsibility for the delay.
             Instead of attempting to cogently organize its evidence, the Government has
             instead “buried him in paper, providing him piecemeal with an amount of data
             that represents millions of pages of discovery” (a practice that has been
             criticized in other jurisdictions).

            Though serious, the charges against him are not of a nature warranting a lengthy
             pretrial detention. Moreover, this case is not like other serious fraud cases like
             Bernie Madoff, Marc Dreier, or David H. Brooks, who were each released on
             conditions. “[H]e has inflicted no personal economic misery on any human
             being.”

            He is not a flight risk, owing to the absence of any criminal history, the
             “peaceful nature of his existence,” his “inclination to stand tall against the
             allegations,” the lack of evidence showing an inclination towards flight, and his
             ties to Idaho, his community, and his family. Regardless, the Government’s case
             for flight is circumstantial; criminal charges, without more, are insufficient to
             prove an irremediable risk of flight.

            Detention will result in defense counsel being vastly less prepared for trial than
             if he were released, therefore implicating his Sixth Amendment rights. Not only
             is the location of incarceration inconvenient for visitation, but incarceration
             restricts effective communication and access to litigation technology.

       18.      During the July 30, 2019 hearing on Pavel’s Motion to Reopen Detention

Hearing, the Government provided the following proffer and argument:

            After being approached by federal investigators, Igor Babichenko – Pavel’s
             brother, who resides in Florida and has been connected with the involved
             financial transfers – traveled with his family to Brazil earlier this summer and
             did not return as scheduled. To date, Igor has not returned to the United States
             and, on July 17, 2019, the FBI went to Igor’s house and found a realtor lock
             box on the door.

            A new cooperating witness (“CW”) informed the Government that Pavel and
             other co-defendants approached the CW to work as a customer service
             representative for the cell phone business. CW’s responsibilities included
             opening a new bank account and Amazon account to sell counterfeit products,
             while culling out negative feedback to maintain high seller status and deleting
             any comments relating to references made about counterfeit products. The CW
             also indicated the Babichenko family planned to move to Brazil.

            Pavel’s minimal equity and interest-only loan in his current residence in Eagle,
             Idaho – despite significant money transfers to Brazil exceeding the value of the
             home – indicates that he is a flight risk and intends to flee to Brazil.

MEMORANDUM DECISION AND ORDER -- 7
        Case 1:18-cr-00258-BLW Document 292 Filed 08/05/19 Page 8 of 24




            Evidence relating to: (1) emails discussing “almost real” products and payroll
             rundowns for employees; (2) instant message conversations between Pavel and
             manufacturers discussing “fake” goods and strategies to avoid detection by
             customs; (3) other co-conspirators’ involvement in selling counterfeit products
             at a 6% “cut,” while forwarding multi-million-dollar balances to Pavel and
             other co-defendants; (4) financial statements and extensive money transfers
             between Pavel and over twenty countries, including $5 million from Hong
             Kong alone; and (5) labels for iPhones containing identical IMEI numbers,
             alongside direction that colors reflected within IMEI numbers nonetheless
             correspond to actual product.

       19.      At the same hearing, Pavel provided what his counsel contended was “new”

information supporting reconsideration of the prior detention order, including:

            The IMEI numbers/stickers central to the Government’s proffer at both
             detention hearings mischaracterized Pavel’s actions; the duplicate stickers came
             from the manufacturer and were to be discarded.

            Pavel and his wife have five children who are having difficulty coping with the
             absence of their father.

            His minimal equity in his current house (that he built in 2005-2006) can be
             explained by the 2007 economic downturn and his difficulty securing loans in
             the following years. The re-structured interest-only loan payments effectively
             represented rent on the residence (as compared to a 30-year mortgage payment)
             rather than not paying and having to proceed to foreclosure. Currently, there is
             equity in the residence, based on “premium” payments (following conversation
             from interest-only loan to both an interest and principal loan in 2016). His last
             payment was in July 2018.

            The Government’s evidence is circumstantial, reflecting only the business
             “dynamic” of a world-wide wholesaler.

            He effectively has no assets (at least not in the United States) – since being
             incarcerated, the Government has seized his assets.

            Igor stayed in Brazil to maintain the business affairs that Pavel and other co-
             defendants were responsible for prior to their arrest. Regardless, despite Igor’s
             failure to return to the United States, other co-defendants currently out on
             pretrial release have abided by their release agreement and have not fled.

            Pavel is willing to surrender not only his U.S. passport and Brazilian residency
             card, but also those of his entire immediate family.



MEMORANDUM DECISION AND ORDER -- 8
        Case 1:18-cr-00258-BLW Document 292 Filed 08/05/19 Page 9 of 24



          Pavel’s detention impedes his ability to review discovery and assist counsel.

                                   III. LEGAL FRAMEWORK

       Congress enacted the Bail Reform Act to give courts “adequate authority to make release

decisions that give appropriate recognition to the danger a person may pose to others if

released” or pose a risk of flight, and thus governs a court’s decision about whether to release an

arrestee pending trial. United States v. Salerno, 481 U.S. 739, 742 (1987). The Speedy Trial

Act accommodates delay caused by an unusually complex case by recognizing that an ends-of-

justice delay may be appropriate when:

       the case is so unusual or so complex, due to the number of defendants, the nature
       of the prosecution, or the existence of novel questions of fact or law, that it is
       unreasonable to expect adequate preparation for pretrial proceedings or for the trial
       itself within the time limits established by this section.

18 U.S.C. § 3161(h)(7)(B)(ii). A case is sufficiently complex when it involves multiple

defendants, multiple counts of complex wire-fraud charges, voluminous discovery, and witnesses

from both within and outside the judicial district. See United States v. Butz, 982 F.2d 1378, 1381

(9th Cir. 1993). Therefore, application of the complex-case time frame under the Speedy Trial

Act will sometimes lengthen the period of pretrial detention of a defendant.

       The substantive due process constitutional infirmities of pretrial detention emerge if

detention is punitive (or becomes punitive) rather than regulatory. In Salerno, the Supreme Court

ruled that the Bail Reform Act is unmistakably a regulatory response from Congress as to those

types of criminal cases (and those criminal defendants) who properly should be detained before

trial to prevent danger to the community – a response which included particular details as to the

process by which such a decision would be made and supported. Salerno, 481 U.S. 739, 746-52.

Those “process” details of a hearing – an opportunity for the defendant to be heard; for counsel

to present evidence, proffer, and argument; the burden upon the Government to prove that



MEMORANDUM DECISION AND ORDER -- 9
        Case 1:18-cr-00258-BLW Document 292 Filed 08/05/19 Page 10 of 24



detention is required; and the steps that must be taken by the court to justify an order of detention

– all pertain as well to whether procedural due process guarantees are satisfied. Id. at 750-53; see

also id. at 746 (procedural due process requires that “[w]hen government action depriving a

person of life, liberty, or property survives substantive due process scrutiny, it must still be

implemented in a fair manner.”) (citing Mathews v. Eldridge, 424 U.S. 319, 335 (1976)). The

Court summarized its holding on the due process issues in this manner:

        In our society liberty is the norm, and detention prior to trial or without trial is the
        carefully limited exception. We hold that the provisions for pretrial detention in the
        Bail Reform Act of 1984 fall within that carefully limited exception. The Act
        authorizes the detention prior to trial of arrestees charged with serious felonies who
        are found after an adversary hearing to pose a threat to the safety of individuals or
        to the community which no condition of release can dispel. The numerous
        procedural safeguards detailed above must attend this adversary hearing. We are
        unwilling to say that this congressional determination, based as it is upon that
        primary concern of every government—a concern for the safety and indeed the
        lives of its citizens—on its face violates either the Due Process Clause of the Fifth
        Amendment or the Excessive Bail Clause of the Eighth Amendment.

Id. at 755.2

        Hence, as a general matter, the Bail Reform Act – in and of itself – withstands a due

process challenge analysis. Nonetheless, relevant here, the Court in Salerno went on to say that

“[w]e intimate no view as to the point at which detention in a particular case might become

excessively prolonged, and therefore punitive, in relation to Congress’ regulatory goal.” Salerno,

481 U.S. at 747, n.4. The Ninth Circuit Court of Appeals, along with certain other Circuits,

“requires assessment on a case by-case basis” in order to determine whether pretrial detention

amounts to a due process violation. United States v. Gelfuso, 838 F.2d 358, 359 (9th Cir. 1988)

(citing United States v. Gonzales-Claudio, 806 F.2d 334, 340 (2nd Cir. 1986)). On that score,

courts “have tended to focus principally on three factors: (1) the non-speculative length of


        2
         There is no Eighth Amendment challenge at issue here, and if there was it would almost
certainly be found lacking given the holding in Salerno.

MEMORANDUM DECISION AND ORDER -- 10
       Case 1:18-cr-00258-BLW Document 292 Filed 08/05/19 Page 11 of 24



expected confinement; (2) the extent to which the government (the prosecution and/or the court

system) bears responsibility for pretrial delay; and (3) the strength of the evidence indicating a

risk of flight, a threat to the trial process, and/or a danger to the community.” Aileman, 165

F.R.D. at 581.

                                       IV. DISCUSSION3

A.     The Alleged Changes in Circumstances Since the Initial Detention Hearing, Without
       More, Do Not Warrant a Departure From the Court’s Previous Detention Order(s);
       If Anything, Just the Opposite

       Pavel first seeks pretrial release based upon allegedly-changed circumstances from the

date of earlier detention hearings. However, the changed circumstances described by his counsel

are almost in their entirety not changed circumstances from those put before the Court at his

original detention hearing. That he simply disagrees4 with the Government’s arguments is not

enough to represent new information bearing on the issues of whether there are conditions of

release that will reasonably assure his appearance at trial and the safety of the community. In

short, the purported changed circumstances were more in the nature of alleged Government

mischaracterizations, alongside a description of the impacts of his continued lengthy detention




       3
         The substantive and procedural similarities between Pavel and Gennady are obvious
and, therefore, this Decision’s overall template and progression through the issues raised largely
mirror those within the Court’s July 26, 2019 Memorandum Decision and Order addressing
Gennady’s related Motion to Reopen Detention Hearing. (Dkt. 287).
       4
         For example, Pavel offers alternate explanations for statements he made and/or certain
circumstances that, in the Government’s mind, reflect concerted efforts to engage in
counterfeiting activity. (Dkt. 252) (claiming reference to “too risky” related to profit margins on
low-end phones, not counterfeit nature of same phones; arguing that, as mere wholesaler who
purchased many items in bulk at auction (with no involvement in product packaging), he was
unaware of spelling errors on cell phone boxes and/or duplicate IMEI numbers/stickers;
explaining that checks from unidentified Philippine bank account emanated from discontinued
refurbishing business there; and justifying money transfers to Brazil as legitimate real estate
investment opportunities outside United States).

MEMORANDUM DECISION AND ORDER -- 11
       Case 1:18-cr-00258-BLW Document 292 Filed 08/05/19 Page 12 of 24



upon his family, upon his ability to assist his counsel in the preparation of his defense, and in the

form of suggested conditions for release.

       Hence, the most salient of the underlying circumstances which previously gave rise to the

detention order remain unchanged, and the proposed additional conditions (such as surrender of

the family members’ passports and any Brazilian residency cards they may hold) do not tip the

balance in favor of release solely under application of the 18 U.S.C. § 3142(g) factors. Further,

the weight of the evidence supporting the alleged charges against Pavel was enlarged upon by

the Government at the July 30, 2019 hearing, lending not only additional credence to the

Government’s previous argument regarding the seriousness (and volume) of the alleged crimes,

but also the impression of a more prominent link between Pavel and such alleged crimes. Pavel’s

own evidence, proffer, and argument at the same hearing do not persuade the Court that there are

changed circumstances sufficient to support a different decision under the Bail Reform Act.5

Therefore, drawing upon the record that had been previously established, combined with the

evidence and argument made by counsel more recently, the Court is satisfied by a preponderance

of the evidence that Pavel remains a risk of not appearing for further proceedings and that no

conditions can be imposed which will reasonably assure his appearance in the future – indeed,


       5
          This includes Pavel’s alleged lack of assets – presumably to suggest that he could not
leave the United States at a moment’s notice. However, at the July 30, 2019 hearing, the
undersigned reminded Pavel’s counsel that Pavel’s financial affidavit provided at the time of his
request for court-appointed counsel (Dkt. 78) was purposely left incomplete in material respects.
The Court was willing to assume in the circumstances (given the scope of the seizures made by
law enforcement and the forfeitures sought by the Government) that Pavel should have counsel
appointed for him; however, considering additional information proffered by the Court, there is
some question as to whether he has additional financial resources. Regardless, in this context, the
Court will not attach credibility to a defendant’s arguments who says in the first instance that he
cannot identify his financial assets and then says later that he has none and therefore could not
flee. But neither will the court assume on this record that he does have enough assets to flee the
country. Therefore, the Court will not attach credibility one way or the other; that is, the Court
will not assume either the Pavel has no resources whatsoever, nor that he has substantial
resources.

MEMORANDUM DECISION AND ORDER -- 12
        Case 1:18-cr-00258-BLW Document 292 Filed 08/05/19 Page 13 of 24



there is now even a stronger case that the Government has put forward as to the evidence against

Pavel and, thus, the strength of the evidence in a § 3142 analysis is arguably even more robust.

       But that conclusion and the Court’s assessment of it here are based upon provisions of the

Bail Reform Act alone, independent of the tension between the Bail Reform Act and the Fifth

Amendment’s Due Process Clause. Those competing considerations are addressed below.

B.     Constitutional Considerations: Pavel’s Continued Pre-Trial Detention Has
       Moved From Regulatory to Punitive In Nature

       Alternatively, Pavel contends that his detention (already approximately 11 months in

length) violates Fifth Amendment substantive due process protections. Ancillary to that claim is

his argument that his Sixth Amendment right to assist in his defense is already compromised (or,

even if not yet compromised at this point, certainly will be violated if he is required to remain in

custody, which, he points out, will continue until at least October 2020 if the current trial setting

holds). He emphasizes the practical difficulties in communicating from jail with his attorney and

assisting counsel in reviewing and evaluating the enormous amount of electronic and other

information seized by the Government. Such seized (primarily electronic information)

constitutes the great bulk of discovery in this case along with the investigative reports from the

various federal law enforcement agents working on the case.

       This is an unusual case, but the volume of material turned over by the Government is by

no means unique in the world of federal felony white-collar crime prosecutions.6 The amount of



       6
          Pavel contends that the Government has “buried him in paper, providing him piecemeal
with an amount of data that represents millions of pages of discovery.” To the extent Pavel is
implying that not all discovery has been produced to date, the Court is satisfied on the current
record that the great bulk of such discovery has been produced. Of significance as well is the fact
that a discovery master has been employed by order of Judge Winmill. That person is
experienced in handling large volumes of electronic and other evidence in complex cases and
some of the delay in getting the discovery into the hands of defense counsel is due to the work
being done by the discovery master. Ultimately, however, the discovery master’s work will make

MEMORANDUM DECISION AND ORDER -- 13
        Case 1:18-cr-00258-BLW Document 292 Filed 08/05/19 Page 14 of 24



“information” makes defending the case more daunting but not impossible for both defense

counsel and his client (the same is true, of course, for the Government). The fact that a client is

in custody pending trial is also a challenge, and ordinarily requires finding the best possible

avenue to obtain the assistance of the client, notwithstanding his or her detention, and the best

possible avenue for counsel and/or counsel’s assistants or experts to communicate with the client

regarding the same.

       However, the nuances of those Sixth Amendment concerns come into play when

combined with the protections of the Fifth Amendment’s Due Process Clause, which is also

implicated in Pavel’s current circumstances and which present an additional potential reason for

release. The due process issue has arisen because of the length of detention to date, and the

additional period of detention between now and the October 2020 trial setting, raising the

question of whether that length of detention alone, or if combined with the present expectation of

additional detention into October 2020, tips the balance such that his detention has become or

will become punitive, rather than regulatory, in nature.

       In January 2019, Pavel previously made a due process challenge to his continued

detention. After being turned down at the district court level, the Ninth Circuit also ruled against

Pavel in March 2019, but did so saying that “anticipated future delays will render [Pavel’s]

detention unconstitutional are not yet ripe.” (Dkt. 192). The Government might well contend that

(even though Pavel has been detained an additional seven months since that challenge was made)

any claim that the length of his detention violates his due process rights is still not yet ripe. But

such an argument, at least in the context of this case, creates an impossible choice for a

defendant like Pavel. At what point does his detention cross the line – 15 months, 18 months,



the work of defense counsel more efficient and much faster than if they had to digest and
organize such information on their own.

MEMORANDUM DECISION AND ORDER -- 14
       Case 1:18-cr-00258-BLW Document 292 Filed 08/05/19 Page 15 of 24



two years? What about the time it takes for the courts to consider his claim, at which point, if the

Court was to agree that his detention had gone on too long, he would then have not only been

detained past the point at which the Constitution would say his due process rights had been

violated, but for an even longer period of time on top of that? Pavel has been in custody for

nearly a year and faces the prospect of incarceration as a pretrial detainee for another 14 months

and perhaps longer. His claim may not be dropping off the tree, but it is certainly ripe in those

circumstances.

       Hence, there is good reason for the Court to consider the due process implications of

Pavel’s continued detention pending trial, and whether his detention has become punitive in

nature and no longer consistent with the regulatory purpose of Congress in enacting the Bail

Reform Act. The issue is a straightforward one; its resolution, however, not so much. It asks, in a

pretrial setting where a defendant is entitled to the presumption of innocence and the tilt of the

table is for pretrial release as provided by the Constitution and framed by the Bail Reform Act, is

an 11-month detention period to date and an expected additional period of detention until a trial

date in October 2020 (for a potential total period of more than two years in pretrial detention)

too much?7

       The U.S. Supreme Court, the Ninth Circuit, and other federal courts who have written

upon the Due Process Clause-concerns raised by a lengthy pretrial detention have emphasized

the very case-specific nature of such an inquiry. The Ninth Circuit “requires assessment on a

case-by-case basis” in order to determine whether pretrial detention amounts to a due process

violation. Gelfuso, 838 F.2d at 359 (citing Gonzales-Claudio, 806 F.2d at 340). A sensible

application of that case-by-case assessment was conducted in Aileman, 165 F.R.D. 571. There,


       7
         This calculation does not include the time of detention during the trial itself, which
appears likely will be a trial of some weeks rather than some days.

MEMORANDUM DECISION AND ORDER -- 15
        Case 1:18-cr-00258-BLW Document 292 Filed 08/05/19 Page 16 of 24



the trial court examined the various decisions of the higher courts and concluded that the

decisions “have tended to focus principally on three factors: (1) the non-speculative length of

expected confinement; (2) the extent to which the government (the prosecution and/or the court

system) bears responsibility for pretrial delay; and (3) the strength of the evidence indicating a

risk of flight, a threat to the trial process, and/or a danger to the community.” Id. at 581.

       The issue also involves the interplay between the Speedy Trial Act and the due process

issues raised by lengthy pretrial detention – after all, as a general matter, if a defendant goes to

trial within the time period ordinarily required under the Speedy Trial Act, it is very unlikely that

there are due process issues with that defendant’s detention pending trial. Indeed, the

Government seems to argue that because the prior trial date continuances in this case were

deemed to be “excludable” time under the Speedy Trial Act, Pavel’s due process rights could not

possibly be compromised by the length of pretrial detention. That argument draws in part upon

the statement in Salerno that the “the maximum length of pretrial detention is limited by the

stringent time limitations of the Speedy Trial Act.” Salerno, 481 U.S. at 747. Hence, there is a

bright line drawn by the outer trial date boundaries of the Speedy Trial Act.

       But due process violations stemming from pretrial detention can still arise even when

trial dates are continued for lengthy periods of time beyond the usual six-month measure using

“excludable time” under application of the Speedy Trial Act. As noted earlier, the Salerno court

made no holding “as to the point at which detention in a particular case might become

excessively prolonged and therefore punitive, in relation to Congress’ regulatory goal.” Id. at

747. This is a case that now raises that question – in other words, is Pavel’s detention now, or

will it become, excessively prolonged and therefore punitive, notwithstanding the fact that the

delays which have pushed the trial to a date more than two years after the first Indictment was

brought are deemed excludable time under the Speedy Trial Act?

MEMORANDUM DECISION AND ORDER -- 16
        Case 1:18-cr-00258-BLW Document 292 Filed 08/05/19 Page 17 of 24



        That brings the Court to the Aileman factors (drawn from circuit court decisions

considering similar challenges) as applied to this case, along with the factors employed in the

Bail Reform Act. The first Aileman factor asks what is the “non-speculative length of expected

confinement?” Pavel’s confinement has been nearly a year in length already and will exceed two

years by the time of the current trial setting. The Government argues it would be speculative to

assume that the trial will be held in October 2020, as Judge Winmill has held out the possibility

that a trial may be held earlier than October 2020. However, as of today, the trial is set for

October 2020. There is a trial setting. Discovery (although apparently mostly complete) is not

fully complete, and considerable effort will be needed to study and make sense of the

information (for both sides of the case) before trial. The case involves multiple defendants and a

myriad of charges, with one Superseding Indictment already filed. There will be, no doubt,

pretrial motions, perhaps some involving evidentiary issues and all will require considerable time

and effort from the parties and the Court. Against that backdrop, the Court concludes that, even

though the October 2020 trial is not set in stone, it is more likely than not that the trial will be

held at that time rather than earlier on.

        The second Aileman factor concerns the Government’s (the prosecution and/or the court

system) role in any pretrial delay, as distinct from that of the defendant. In this case, fingers point

to all quarters, so to speak. The court system has some connection to the delay, because the

dockets (both criminal and civil) are overburdened in the District of Idaho. However, Judge

Winmill is well-known for his consistent and concerted efforts to move cases as quickly as

possible (on both dockets). Furthermore, Judge Winmill has designated this as a “complex case”

for Speedy Trial Act purposes, which recognizes that the size of the case (as to the number of

defendants, claims, evidence, and general nature) justifies a period of time to trial which exceeds

that ordinarily permitted under the Speedy Trial Act. Finally, the Government spent several years

MEMORANDUM DECISION AND ORDER -- 17
        Case 1:18-cr-00258-BLW Document 292 Filed 08/05/19 Page 18 of 24



investigating this case before bringing an Indictment (and then a Superseding Indictment);

executed multiple search warrants as part of that investigation; seized dozens of computers and

other electronic storage devices from businesses and other locations associated with the

defendants and their businesses; and seized (as the Government has frequently emphasized)

thousands of alleged counterfeit or otherwise illegal goods at multiple warehouse locations

connected to the defendants.

       Pavel points to the investigation conducted by the Government and the amount of

information and tangible property seized by the Government to argue that the second factor

weighs against the Government. However, the scope of the investigation and the enormous

volume of the seized goods and electronic information are also a product of the defendants’

conduct. It is the allegedly illegal conduct of the defendants (to include Pavel) traversing

multiple international boundaries (electronically and in person), arranging the manufacture of

enormous amounts of counterfeit electronic goods, conducted through dozens of business entities

under suspicious circumstances, and utilizing the deposit and transfer of significant sums of

money over a period of years – all of which the Government contends were the result of illegal

activity. It is inescapable that such activities (whether illegal or legal) would create the

mountain/morass of potential evidence that the defendants, their counsel, and the Government

are all dealing with now, and which at some point the Court will be dealing with as well. In that

setting, this factor can be equally assessed against the defendants as against the Government.

       The final Aileman factor considers the strength of any evidence indicating a flight risk, a

threat to the trial process, and/or a danger to the community. It is this factor which ultimately

determines the due process issue for Pavel, in that the other factors do not weigh compellingly

one way or the other in favor of Pavel or the Government. Hence, the Court has reconsidered the

nature of the evidence offered and the arguments made at the time of the original decision to

MEMORANDUM DECISION AND ORDER -- 18
        Case 1:18-cr-00258-BLW Document 292 Filed 08/05/19 Page 19 of 24



detain Pavel, and has added to its consideration the further unfolding of this case (pertinent to

this issue) as described above. The Court’s prior decision was a “close” one. The question was

whether there existed a set of conditions that would reasonably assure Pavel’s presence at future

proceedings, which the Court was persuaded at the time had been proven by the Government to

not be possible. However, this is not a case in which a detained defendant is argued to be a risk

to national security, involved in organized crime involving murder conspiracies, or implicated in

terrorist activity as was at play in other reported decisions rejecting due process challenges to

length of detention. There is some suggestion from the Government that there is a potential threat

to the trial process if Pavel is released, but as has been recounted at great length in the parties’

briefing and in this Decision, the Government has already gathered enormous amounts of

information and conducted years of investigation which led to the filing of the Indictments in this

case. That is water under the bridge, the great bulk of which can’t be tampered or interfered with

at this time.

        Left, then, is the risk of flight – a concern described by this Court in the original order of

detention, and a concern reiterated in the decisions reviewing that order. Under the Bail Reform

Act, courts consider the § 3142(g) factors to decide whether there are conditions of release that

“will reasonably assure the appearance of the person as required and the safety of any other

person and the community.” 18 U.S.C. § 3142(g). The Court considers the nature and

circumstances of the charges, the weight of the evidence supporting such charges, the

defendant’s history and characteristics, and the nature and seriousness of the danger to any

person or the community if the defendant is released. Id. Of importance here, when considering

the Bail Reform factors in the context of a substantive due process analysis, there is no

compelling evidence that the Defendant would pose a danger to any person or the community if

released. The crimes alleged are property crimes – alleged to be of considerable magnitude, the

MEMORANDUM DECISION AND ORDER -- 19
        Case 1:18-cr-00258-BLW Document 292 Filed 08/05/19 Page 20 of 24



Court acknowledges, but property crimes nonetheless – and the alleged victims have suffered

financial losses, not injuries or death or the threat of the same.8

       Courts also have made special note that the justification for detention in the face of a due

process challenge over the length of pretrial detention is far more compelling when detention is

based upon a serious risk of danger to any person or the community, than if detention is based

upon a risk of non-appearance. See Oreana, 986 F.2d at 631 (“[T]he constitutional limits on a

detention based on dangerousness to the community may be looser than the limits on a detention

period based solely on risk of flight. In the former case, release risks injury to others, while in the

latter case, release risks only the loss of a conviction.”); accord, El-Hage, 213 F.3d at 80. This

distinction between cases in which detention is sought based on risk of flight, not risk of danger,

also was described in Salerno – the case in which the Supreme Court upheld the constitutionality

of the Bail Reform Act. There, the Court said:

       The only arguable substantive limitation of the [Excessive] Bail Clause is that the
       Government’s proposed conditions of release or detention not be “excessive” in
       light of the perceived evil. Of course, to determine whether the Government’s
       response is excessive, we must compare that response against the interest the
       Government seeks to protect by means of that response. Thus, when the
       Government has admitted that its only interest is in preventing flight, bail must be
       set by a court at a sum designed to ensure that goal, and no more.

Salerno, 481 U.S. at 754 (internal citations omitted).




       8
          Such details distinguish this case from reported decisions which have ruled that an
extended period of pretrial detention does not violate the Due Process Clause of the Fifth
Amendment. See, e.g., Salerno, 481 U.S. 739 (defendants were deeply involved in operation of
La Cosa Nostra family, with charges including conspiracy to commit murder); Gelfuso, 838 F.2d
358 (defendant charged with conspiracy and attempt to distribute cocaine and distribution of
cocaine, in addition to racketeering and loansharking); El-Hage, 213 F.3d 74 (defendant charged
with, among other counts, six conspiracies to murder U.S. citizens and destroy property of
United States abroad, alleged to be key participant in Bin Laden terrorist organization); United
States v. Oreana, 986 F.2d 628 (2d Cir. 1993) (RICO charges based upon predicate acts of
murder, conspiracy to murder, loansharking, and illegal possession of weapons.).

MEMORANDUM DECISION AND ORDER -- 20
        Case 1:18-cr-00258-BLW Document 292 Filed 08/05/19 Page 21 of 24



       Finally, the Court considers these factors against the essential core of the Constitutional

issue, which is the matter of due process. Substantive due process “prevents the government

from engaging in conduct that ‘shocks the conscience,’ or interferes with rights ‘implicit in the

concept of ordered liberty.’” Salerno, 481 U.S. at 746 (quoting Rochin v. California, 342 U.S.

165, 172 (1952)). Procedural due process then requires that “[w]hen government action

depriving a person of life, liberty, or property survives substantive due process scrutiny, it must

still be implemented in a fair manner.” Id. (citing Mathews, 424 U.S. at 335).

       What does that require here, for Pavel? On balance, when weighing the competing

interests of Pavel and his due process rights against the interests of the Government as reflected

in the Bail Reform Act, the Court concludes that Pavel’s substantive due process rights on the

present facts of this case, having already been in custody in pretrial detention for nearly a year,

and facing continued pretrial detention to exceed more than two years, must hold sway. The

punitive feel of keeping a defendant incarcerated for that length of time in a pretrial setting

where he is presumed innocent under our Constitution, is apparent on its face. It is even more

compellingly so in Pavel’s circumstances, in a setting where his criminal record is a blank slate

and he has significant contacts to the community as found in his businesses and family

obligations.

       The single most concerning aspect of Pavel’s background in regard to whether his

circumstances support a finding that even a multi-year pre-trial detention remains a regulatory

measure rather than a punitive act, is the risk of flight to Brazil given his contacts to that country

and the nature of certain of his alleged prior business and financial dealings. But again, the

contention that extended detention constitutes a due process violation is to be evaluated upon its

own facts, as the Court has described above. And, the Court considers the other differences

between a Bail Reform Act decision and an evaluation of a potential substantive due process

MEMORANDUM DECISION AND ORDER -- 21
        Case 1:18-cr-00258-BLW Document 292 Filed 08/05/19 Page 22 of 24



violation, such as the fact that this case does not present a serious risk of danger to a person or

the community, but rather a risk of flight, and therefore the due process concerns take on a

heightened importance.

        Evaluating this due process challenge on its own facts should also emphasize the entirety

of Pavel’s life circumstances. Here, Pavel’s world before being charged in this case distilled

down to his immediate and extended family, including wife Natalie, and five young children as

to whom he has the responsibilities of husband and father. In such facets of his life, Pavel would

have reason to draw upon the rights of “life, liberty and the pursuit of happiness.” That statement

in the Declaration of Independence is among the wellsprings of the Bill of Rights and their

protections of life and liberty. Hence, even though the most obvious example of liberty in

considering the protections of substantive due process in criminal proceedings is freedom from

the restraint of imprisonment, there is more to the meaning of liberty under the frame of the

Constitution. Liberty includes not just freedom from restraint, but other fundamental elements of

our daily lives as well.9

        This full meaning of liberty has been part of our jurisprudence since the earliest years of

our Republic. It was described (and its historical anchors in the law summarized) by the Supreme

Court in Meyer v. Nebraska, 262 U.S. 390 (1923), a case which considered the meaning of

“liberty” as that word is used in the Fourteenth Amendment, which reads in pertinent part: “No

state shall…deprive any person of life, liberty, or property, without due process of law….” In

Meyer, the Court said that “[w]hile this court has not attempted to define with exactness the

liberty thus guaranteed, the term has received much consideration…” and went on to say:


        9
          The Court considered carefully the measure of Pavel’s circumstances against those of
his brother, Gennady, whom this Court has released already based upon due process. The
strength of Pavel’s circumstances as supporting a due process challenge is not as strong as was
true for Gennady, but they are strong enough.

MEMORANDUM DECISION AND ORDER -- 22
        Case 1:18-cr-00258-BLW Document 292 Filed 08/05/19 Page 23 of 24



       Without doubt, it denotes not merely freedom from bodily restraint but also the
       right of the individual to contract, to engage in any of the common occupations of
       life, to acquire useful knowledge, to marry, establish a home and bring up children,
       to worship God according to the dictates of his own conscience, and generally to
       enjoy those privileges long recognized at common law as essential to the orderly
       pursuit of happiness by free men.

Id. at 399 (citations omitted).

       Consider how the template placed by the Supreme Court in Meyer illustrates exactly how

Pavel’s liberty already has been abridged, and why continued detention has turned from

regulatory to punitive. Each of the areas of his daily life – his business, his family, and his ability

to “enjoy those privileges long recognized at common law as essential to the orderly pursuit of

happiness” – has been taken away from him. Id. Significantly, his absence also deprives many

others from being fully involved in such activities of their own, particularly where he has been

absent from his family, his wife and young children, and therefore also absent from fulfilling the

role of husband and father.

       That such parts of a daily life are not just quotidian but rather are essential to life and

liberty needs no legal citation in the country in which we live. It is enough that we recognize

immediately the importance of such things in our own lives and can therefore recognize their

importance in the lives of others, including the life of a person whose detention may have been

proper under the Bail Reform Act, but is no longer proper under the Constitution when that

detention leaves not just a mark but rather threatens a profound wound in the life and liberty of a

presumptively innocent person.

       The Court need not decide the exact day that Pavel’s pretrial detention turned punitive in

nature, other than to declare that it has occurred by now, having been incarcerated for more than

11 months already and facing the bleak prospect of another 14 months or longer in custody,




MEMORANDUM DECISION AND ORDER -- 23
       Case 1:18-cr-00258-BLW Document 292 Filed 08/05/19 Page 24 of 24



absent an order from this Court ordering that he be released and thereby bring a stop to the

unraveling of the due process protections that the Constitution guarantees to him.

       Accordingly, the Court will order that Pavel be released from custody, pending further

proceedings, on conditions. However, the Court will not allow such release until after a hearing

has been conducted to hear from Pavel’s counsel, the Government’s counsel, and the pretrial

services officer upon the details of appropriate conditions of release, which remain an

appropriate use of the Bail Reform Act so long as such conditions do not create the functional

equivalent of detention. That hearing is set for August 7, 2019 at 9:30 a.m. in Boise, Idaho,

Courtroom 7 before the undersigned.

                                                     DATED: August 5, 2019


                                                     _________________________
                                                     Ronald E. Bush
                                                     Chief U.S. Magistrate Judge




MEMORANDUM DECISION AND ORDER -- 24
